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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                    EASTERN DIVISION AT COLUMBUS

MATTHEW TASSONE,

                       Petitioner,               :   Case No. 2:20-cv-5234

       - vs -                                        District Judge Sarah D. Morrison
                                                     Magistrate Judge Michael R. Merz

THE HONORABLE ELIZABETH GILL,
 Judge, Franklin County Court of Common
 Pleas, Domestic Relations Division

                                                 :
                       Respondent.


                      REPORT AND RECOMMENDATIONS


       This habeas corpus case is before the Court on Motion of Ohio Attorney General Dave

Yost to dismiss him as a respondent in this case because he has neither present nor potential future

custody of the Petitioner (ECF No. 9). The Magistrate Judge notified Petitioner that he had until

December 28, 2020, to file any opposition he might have to that Motion (Notice to Pro Se

Petitioner, ECF No. 10).

       Petitioner has failed to file any opposition to the Motion and the Magistrate Judge finds it

is well taken. Attorney General Yost is not a proper party respondent and the case should be

dismissed as to him without prejudice.

December 29, 2020.

                                                            s/ Michael R. Merz
                                                           United States Magistrate Judge




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                           NOTICE REGARDING OBJECTIONS



Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Because this document is being served by mail, three days are added under
Fed.R.Civ.P. 6, but service is complete when the document is mailed, not when it is received. Such
objections shall specify the portions of the Report objected to and shall be accompanied by a
memorandum of law in support of the objections. A party may respond to another party’s
objections within fourteen days after being served with a copy thereof. Failure to make objections
in accordance with this procedure may forfeit rights on appeal.




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